        Case 3:10-cv-01246-CSH Document 1 Filed 08/05/10 Page 1 of 10



UNITED STATES DISTRICT COURT
DISTRICT OF CONNECTICUT

                                        :
Andrew Venditti,                        :
                                        : Civil Action No.: ______
                   Plaintiff,           :
       v.                               :
                                        :
Central Credit Services, Inc.; and DOES :
1-10, inclusive,                        : COMPLAINT
                                        :
                                        :
                   Defendants.          :
                                        :


      For this Complaint, the Plaintiff, Andrew Venditti, by undersigned counsel,

states as follows:


                                    JURISDICTION

      1.     This action arises out of Defendants’ repeated violations of the Fair

Debt Collection Practices Act, 15 U.S.C. § 1692, et seq. (“FDCPA”), and the

invasions of Plaintiff’s personal privacy by the Defendants and their agents in

their illegal efforts to collect a consumer debt.

      2.     Supplemental jurisdiction exists pursuant to 28 U.S.C. § 1367.

      3.     Venue is proper in this District pursuant to 28 U.S.C. § 1391(b), in

that the Defendants transact business in this District and a substantial portion of

the acts giving rise to this action occurred in this District.


                                       PARTIES

      4.     The Plaintiff, Andrew Venditti (“Plaintiff”), is an adult individual

residing in Seymour, Connecticut, and is a “consumer” as the term is defined by
        Case 3:10-cv-01246-CSH Document 1 Filed 08/05/10 Page 2 of 10



15 U.S.C. § 1692a(3).

      5.      Defendant Central Credit Services, Inc. (“Central”), is a Florida

business entity with an address of 9550 Regency Square Blvd, Suite 602,

Jacksonville, Florida, 32225, operating as a collection agency, and is a “debt

collector” as the term is defined by 15 U.S.C. § 1692a(6).

      6.      Does 1-10 (the “Collectors”) are individual collectors employed by

Central and whose identities are currently unknown to the Plaintiff. One or more

of the Collectors may be joined as parties once their identities are disclosed

through discovery.

      7.      Central at all times acted by and through one or more of the

Collectors.


                   ALLEGATIONS APPLICABLE TO ALL COUNTS

   A. The Debt


      8.      The Plaintiff allegedly incurred a financial obligation in the

approximate amount of $1,100.00 (the “Debt”) to HSBC (the “Creditor”).

      9.      The Debt arose from services provided by the Creditor which were

primarily for family, personal or household purposes and which meets the

definition of a “debt” under 15 U.S.C. § 1692a(5).

      10.     The Debt was purchased, assigned or transferred to Central for

collection, or Central was employed by the Creditor to collect the Debt.

      11.     The Defendants attempted to collect the Debt and, as such, engaged

in “communications” as defined in 15 U.S.C. § 1692a(2).



                                           2
           Case 3:10-cv-01246-CSH Document 1 Filed 08/05/10 Page 3 of 10



   B. Central Engages in Harassment and Abusive Tactics


      12.       The Defendants called the Plaintiff at his home telephone repeatedly

at least three (3) times a day in an attempt to collect the alleged debt.

      13.       The Defendants called the Plaintiff at his cellular phone repeatedly at

least once a day in an attempt to collect the alleged debt.

      14.       The defendants placed automated calls (“robocalls”) to the Plaintiff’s

phones in an attempt to collect the alleged debt.

      15.       The Defendants called the Plaintiff at his work in an attempt to

collect the alleged debt despite the Plaintiff’s request stop calling him at work.

      16.       The Defendants repeatedly identified themselves as calling on behalf

of HSBC and refused to disclose their true name. After repetitive questioning by

the Plaintiff the Defendants stated they were calling from “Offices of Central

Credit.”

      17.       The Defendants called the Plaintiff in an attempt to collect the

alleged debt and asked the Plaintiff whether he “wanted to settle this matter

voluntarily.”

      18.       The Defendants never mailed the Plaintiff the debt validation letter.


   C. Plaintiff Suffered Actual Damages


      19.       The Plaintiff has suffered and continues to suffer actual damages as

a result of the Defendants’ unlawful conduct.

      20.       As a direct consequence of the Defendants’ acts, practices and

conduct, the Plaintiff suffered and continues to suffer from humiliation, anger,


                                            3
        Case 3:10-cv-01246-CSH Document 1 Filed 08/05/10 Page 4 of 10



anxiety, emotional distress, fear, frustration and embarrassment.

      21.    The Defendants’ conduct was so outrageous in character, and so

extreme in degree, as to go beyond all possible bounds of decency, and to be

regarded as atrocious, and utterly intolerable in a civilized community.


                                      COUNT I

               VIOLATIONS OF THE FDCPA 15 U.S.C. § 1692, et seq.

      22.    The Plaintiff incorporates by reference all of the above paragraphs of

this Complaint as though fully stated herein.

      23.    The Defendants’ conduct violated 15 U.S.C. § 1692c(a)(1) in that

Defendants contacted the Plaintiff at a place and during a time known to be

inconvenient for the Plaintiff.

      24.    The Defendants’ conduct violated 15 U.S.C. § 1692c(a)(3) in that

Defendants contacted the Plaintiff at his place of employment, knowing that the

Plaintiff’s employer prohibited such communications.

      25.    The Defendants’ conduct violated 15 U.S.C. § 1692d(5) in that

Defendants caused a phone to ring repeatedly and engaged the Plaintiff in

telephone conversations, with the intent to annoy and harass.

      26.    The Defendants’ conduct violated 15 U.S.C. § 1692d(6) in that

Defendants placed calls to the Plaintiff without disclosing the identity of the debt

collection agency.

      27.    The Defendants’ conduct violated 15 U.S.C. § 1692e(10) in that

Defendants employed false and deceptive means to collect a debt.

      28.    The Defendants’ conduct violated 15 U.S.C. § 1692e(14) in that


                                          4
        Case 3:10-cv-01246-CSH Document 1 Filed 08/05/10 Page 5 of 10



Defendants used a name other than the true name of the debt collection agency.

      29.    The Defendants’ conduct violated 15 U.S.C. § 1692g(a)(1) in that

Defendants failed to send the Plaintiff a validation notice stating the amount of

the Debt.

      30.    The Defendants’ conduct violated 15 U.S.C. § 1692g(a)(2) in that

Defendants failed to send the Plaintiff a validation notice stating the name of the

original creditor to whom the Debt was owed.

      31.    The Defendants’ conduct violated 15 U.S.C. § 1692g(a)(3) in that

Defendants failed to send the Plaintiff a validation notice stating the Plaintiff’s

right to dispute the Debt within thirty days.

      32.    The Defendants’ conduct violated 15 U.S.C. § 1692g(a)(4) in that

Defendants failed to send the Plaintiff a validation notice informing the Plaintiff of

a right to have verification and judgment mailed to the Plaintiff.

      33.    The Defendants’ conduct violated 15 U.S.C. § 1692g(a)(5) in that

Defendants failed to send the Plaintiff a validation notice containing the name and

address of the original creditor.

      34.    The Defendants’ conduct violated 15 U.S.C. § 1692g(b) in that

Defendants continued collection efforts even though the Debt had not been

validated.

      35.    The foregoing acts and omissions of the Defendants constitute

numerous and multiple violations of the FDCPA, including every one of the

above-cited provisions.




                                           5
        Case 3:10-cv-01246-CSH Document 1 Filed 08/05/10 Page 6 of 10



      36.     The Plaintiff is entitled to damages as a result of Defendants'

violations.


                                       COUNT II

              INVASION OF PRIVACY BY INTRUSION UPON SECLUSION

      37.     The Plaintiff incorporates by reference all of the above paragraphs of

this Complaint as though fully stated herein.

      38.     The Restatement of Torts, Second, § 652(b) defines intrusion upon

seclusion as, “One who intentionally intrudes…upon the solitude or seclusion of

another, or his private affairs or concerns, is subject to liability to the other for

invasion of privacy, if the intrusion would be highly offensive to a reasonable

person.”

      39.     Connecticut further recognizes the Plaintiff’s right to be free from

invasions of privacy, thus the Defendants violated Connecticut state law.

      40.     The Defendants intentionally intruded upon Plaintiff’s right to privacy

by continually harassing the Plaintiff with phone calls to his home and work and

refusing to disclose the true identity of the caller.

      41.     The telephone calls made by the Defendants to the Plaintiff were so

persistent and repeated with such frequency as to be considered, “hounding the

plaintiff,” and, “a substantial burden to her existence,” thus satisfying the

Restatement of Torts, Second, § 652(b) requirement for an invasion of privacy.

      42.     The conduct of the Defendants in engaging in the illegal collection

activities resulted in multiple invasions of privacy in such a way as would be

considered highly offensive to a reasonable person.


                                           6
        Case 3:10-cv-01246-CSH Document 1 Filed 08/05/10 Page 7 of 10



      43.     As a result of the intrusions and invasions, the Plaintiff is entitled to

actual damages in an amount to be determined at trial from the Defendants.

      44.     All acts of the Defendants and its agents were committed with

malice, intent, wantonness, and recklessness, and as such, the Defendants is

subject to punitive damages.


                                       COUNT III

     VIOLATIONS OF THE CONNECTICUT UNFAIR TRADE PRACTICES ACT,
                    Conn. Gen. Stat. § 42-110a, et seq.

      45.     The Plaintiff incorporates by reference all of the above paragraphs of

this Complaint as though fully stated herein.

      46.     The Defendants are each individually a “person” as defined by Conn.

Gen. Stat. § 42-110a(3).

      47.     The Defendants engaged in unfair and deceptive acts and practices

in the conduct of its trade, in violation of Conn. Gen. Stat. § 42-110b(a).

      48.     The Plaintiff is entitled to damages as a result of the Defendants’

violations.


                                       COUNT IV

       VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT –
                          47 U.S.C. § 227, et seq.

      49.     The Plaintiff incorporates by reference all of the above paragraphs of

this Complaint as though fully stated herein.

      50.     Without prior consent the Defendants contacted the Plaintiff by

means of automatic telephone calls or prerecorded messages at a cellular

telephone or pager in violation of 47 U.S.C. § 227(b)(1)(A)(iii).

                                           7
        Case 3:10-cv-01246-CSH Document 1 Filed 08/05/10 Page 8 of 10



      51.     Without prior consent the Defendants made telephone calls to the

Plaintiff’s residential telephone line using an artificial or prerecorded voice to

deliver a message without the prior express consent of the Plaintiff in violation

of 47 U.S.C. § 227(b)(1)(B).

      52.     The foregoing acts and omissions of the Defendants constitute

numerous and multiple violations of the Telephone Consumer Protection Act,

including every one of the above-cited provisions.

      53.     The Plaintiff is entitled to damages as a result of the Defendants’

violations.


                                      COUNT V

               INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

      54.     The Plaintiff incorporates by reference all of the above paragraphs of

this Complaint as though fully set forth herein at length.

      55.     The acts, practices and conduct engaged in by the Defendants vis-à-

vis the Plaintiff was so outrageous in character, and so extreme in degree, as to

go beyond all possible bounds of decency, and to be regarded as atrocious, and

utterly intolerable in a civilized community.

      56.     The foregoing conduct constitutes the tort of intentional infliction of

emotional distress under the laws of the State of Connecticut.

      57.     All acts of the Defendants and the Collectors complained of herein

were committed with malice, intent, wantonness, and recklessness, and as such,

the Defendants are subject to imposition of punitive damages.




                                           8
        Case 3:10-cv-01246-CSH Document 1 Filed 08/05/10 Page 9 of 10



                                     COUNT VI

                               COMMON LAW FRAUD

      58.     The Plaintiff incorporates by reference all of the above paragraphs of

this Complaint as though fully stated herein.

      59.     The acts, practices and conduct engaged in by the Defendants and

complained of herein constitute fraud under the Common Law of the State of

Connecticut.

      60.     The Plaintiff has suffered and continues to suffer actual damages as

a result of the foregoing acts and practices, including damages associated with,

among other things, humiliation, anger, anxiety, emotional distress, fear,

frustration and embarrassment caused by the Defendants. All acts of the

Defendants and the Collectors complained of herein were committed with malice,

intent, wantonness, and recklessness, and as such, the Defendants are subject to

punitive damages.


                               PRAYER FOR RELIEF

      WHEREFORE, the Plaintiff prays that judgment be entered against the

Defendants:

                 1. Actual damages pursuant to 15 U.S.C. § 1692k(a)(1) against the

                    Defendants;

                 2. Statutory damages of $1,000.00 pursuant to 15 U.S.C.

                    §1692k(a)(2)(A) against the Defendants;

                 3. Costs of litigation and reasonable attorney’s fees pursuant to 15

                    U.S.C. § 1692k(a)(3) against the Defendants;


                                          9
       Case 3:10-cv-01246-CSH Document 1 Filed 08/05/10 Page 10 of 10



               4. Statutory damages pursuant to 47 U.S.C. § 227(b)(3)(B) & (C);

               5. Actual damages from the Defendants for the all damages

                  including emotional distress suffered as a result of the

                  intentional, reckless, and/or negligent FDCPA violations and

                  intentional, reckless, and/or negligent invasions of privacy in an

                  amount to be determined at trial for the Plaintiff;

               6. Punitive damages; and

               7. Such other and further relief as may be just and proper.

                  TRIAL BY JURY DEMANDED ON ALL COUNTS


Dated: August 5, 2010

                                      Respectfully submitted,

                                      By /s/ Sergei Lemberg

                                      Sergei Lemberg, Esq.
                                      LEMBERG & ASSOCIATES L.L.C.
                                      1100 Summer Street, 3rd Floor
                                      Stamford, CT 06905
                                      Telephone: (203) 653-2250
                                      Facsimile: (877) 795-3666
                                      Attorney for Plaintiff




                                        10
